                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


FLETA ERWIN,                                    ) Civil No. 3:20-cv-00237
                                                )
       Plaintiff,                               )
v.                                              )
                                                ) COMPLAINT AND
ACCORDIUS HEALTH, LLC,                          ) DEMAND FOR JURY TRIAL
                                                )
       Defendant.                               )
                                                )
                                                )
                                                )



       Plaintiff, Fleta Erwin (“Plaintiff”), by and through counsel, brings this action for violations

of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. §§ 2000e et seq., against

Accordius Health, LLC. (“Defendant”).

                            NATURE OF PLAINTIFF’S CLAIMS

       1.      Defendant unlawfully discriminated against Plaintiff terminating her employment

based on her race, African American, in violation of Title VII.


                                         THE PARTIES

       2.      Plaintiff is an adult individual who is a resident of Charlotte, North Carolina.

       3.      Defendant is a foreign business corporation registered and in good standing in the

state of North Carolina, with its principal office located at 440 Sylvan Avenue, Suite 240,

Englewood Cliffs, NJ 07632.

                                JURISDICTION AND VENUE

       4.      The Court has original federal question jurisdiction under 28 U.S.C. § 1331 for

claims the claims brought under Title VII for unlawful discrimination.



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       5.      This Court has personal jurisdiction because Defendant conducts substantial

business in Mecklenburg County, North Carolina, which is located within this judicial district.

       6.      Venue is proper in this judicial district because Defendant has substantial business

contacts in this district and because the unlawful acts alleged herein occurred in Charlotte, North

Carolina, which is located within this judicial district.

                                  COVERAGE ALLEGATIONS

       7.      At all times relevant to this action, Plaintiff was an “employee” covered by the

protections of Title VII of the Civil Rights Act of 1964 within the meaning of 42 U.S.C. §2000e(f).

       8.      Defendant is an “employer” within the meaning of 42 U.S.C. §2000e(b).

       9.      Defendant employed at least (15) employees at all relevant times.

       10.     Plaintiff satisfied her obligation to exhaust her administrative remedies by timely

filing a Charge of Discrimination against Defendant with the United States Equal Employment

Opportunity Commission (“EEOC”) alleging discrimination based on race on July 26, 2019. The

EEOC issued a Notice of Suit Rights on January 22, 2020 and Plaintiff timely brings this action

within ninety (90) days of his receipt thereof.



                          PLAINTIFF’S FACTUAL ALLEGATIONS

       11.     Plaintiff began her employment with Defendant stationed at Defendant’s

Rehabilitation Center in Charlotte, North Carolina (hereinafter “the Nursing Home”), on February

1, 2019. Plaintiff held the position of LPN Charge Nurse.

       12.     Plaintiff is an African American female who regularly met and/or exceeded

Defendant’s legitimate expectations.




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       13.     During Plaintiff’s employment with Defendant, she worked closely with two other

African American female nurses, Tijuana Scott (“Scott”) and Henrietta Salmon (“Salmon”).

       14.     In or about Mid-February, 2019, Defendant hired John Altschul (“Altschul”) as the

Building Administrator of the Nursing Home.

       15.     In or about late February 2019, Defendant’s Director of Nursing for the Nursing

Home, Scott Sutton (“Sutton”), told Plaintiff that Altschul had interviewed two nurses, one of

which was interviewed for a LPN Nurse position. The applicants Altschul interviewed were white

females. When Altschul consulted Sutton about hiring the applicants, Sutton informed Altschul

that there were no open positions for the applicants to fill in the Nursing home.

       16.     On or about March 1, 2019, Altschul informed Plaintiff that two residents of the

Nursing Home accused her of verbal abuse and that she was being placed on suspension due to the

complaints.

       17.     The North Carolina Department of Health and Human Services (“NCDHHS”)

conducted an investigation of the allegations of patient abuse made against Plaintiff. On or about

March 7, 2019, NCDHHS concluded its investigation; NCDHHS found the allegations against

Plaintiff were unsubstantiated..

       18.     On or about March 10, 2019, Plaintiff returned to the Nursing Home to meet with

Altschul regarding her suspension. Altschul told CP at that time that the allegations of patient

abuse against her were unsubstantiated but that Defendant was still terminating her employment.

       19.     In or about mid-March 2019, Altschul told Salmon that he would be changing the

nature of her employment from a full-time employee to an on-call employee that would only work

when she was called by Defendant. Salmon was not called in for any shifts at the Nursing Home

after the change.



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        20.    In or about Mid-March 2019, during a morning meeting led by Altschul, Altschul

stated that he was going to “whitewash” the Nursing Home, insinuating that he was going to

remove all non-white employees from the Nursing Home.

        21.    In or about April 2019, Scott resigned due to harassment by Altschul.

        22.    In or about mid-late April 2019, one of the two white female nurses that had

previously applied for Plaintiff’s position began working at the Nursing Home. The white nurse

was hired to fill the position Plaintiff held before her termination.

        23.    Consistent with Altschul’s stated intent to remove all employees of color from the

Nursing home, he terminated Plaintiff’s employment on or about March 10, 2019, because she is

African American.

                                 Plaintiff’s First Cause of Action

                    (Violation of Title VII – Discrimination based on Race)

        24.    Plaintiff incorporates by reference Paragraphs 1 through 23 of her Complaint.

        25.    Defendant unlawfully discriminated against Plaintiff by terminating her

employment based on her race, African American, in violation of Title VII.

        26.    Defendant’s actions were intentional, willful, and/or undertaken in reckless

disregard of Plaintiff’s right as protected by Title VII.

        27.    Plaintiff has suffered damages as a result of Defendant’s unlawful actions.

                                     PRAYER FOR RELIEF

   WHEREFORE, Plaintiff respectfully requests the following relief:

   a)          An Order pursuant to Title VII that the Defendant pay Plaintiff all lost wages,

        benefits, compensation, and monetary loss suffered because of Defendant’s unlawful

        actions;



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   b)           An Order pursuant to the Title VII ordering Defendant to pay punitive damages;

   c)           An Order awarding the costs of this action;

   d)           An Order awarding reasonable attorneys’ fees;

   e)           A Declaration and finding by the Court that Defendant willfully violated

        provisions of Title VII for unlawful discrimination based on race and retaliation;

   f)           An Order awarding pre-judgment and post-judgment interest at the highest rates

        allowed by law; and

   g)           An Order granting such other and further relief as may be necessary and

        appropriate.

                                     JURY TRIAL DEMAND

        Plaintiff demands a trial by jury for all issues of fact.



Respectfully submitted this 20th day of April, 2020.


                                                /s/ Jason S. Chestnut
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